                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


SARA HARMON

             Plaintiff,

     v.                                                              Case No. 018-C-209

THE CITY OF RACINE etal

             Defendants.


          ORDER RE: MEDIATION/SETTLEMENT CONFERENCE


     The matter has been referred to this court for mediation by United States

     District Judge J.P. Stadtmueller . Based on this referral,

     IT IS HEREBY ORDERED that:

     1.      I will conduct a mediation/settlement conference on 11/28/2018, f r o m
             9 : 0 0 A M t o 1 2 : 0 0 P M , in Room 714, United States Courthouse,
             517 E. Wisconsin Avenue, Milwaukee, Wisconsin. (Please use the
             Jackson Street elevator to get to Room 714).

     2.      Primary counsel who will try the case must be present. A person with full
             settlement authority also must be present at the conference. This requirement
             contemplates the presence of a party or, if a corporate entity, an authorized
             representative of the party. This requirement contemplates having a person
             present who can settle the case during the course of the conference without
             consulting a superior.

     3.      Presettlement Conference Demand and Offer.

             A settlement conference is more likely to be productive, if, before the
             conference, the parties have had a chance to discuss settlement proposals.
             Prior to the conference, the attorneys are directed to discuss settlement with
             their respective clients and, if applicable, insurance representatives.

             In addition, plaintiff’s counsel shall submit a written settlement demand
             to the defendant’s counsel with a brief explanation of why such a settlement
             is appropriate on or before 11/14/2018.




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         Defendant’s counsel shall submit a written offer to the plaintiff’s counsel
         with a brief explanation of why such a settlement is appropriate on or before
         11/18/2018.

         This process may lead directly to a settlement. If settlement is not
         achieved, plaintiff’s counsel shall send copies of these letters to the court by
          11/21/2018. These settlement demand letters, which will not be part of the
         record in this case, shall be sent directly to my chambers,
         in the following manner: Email, in PDF, to CallahanPO@wied.uscourts.gov.
         These settlement demand letters are not to be electronically filed.

  4.      In addition, the mediation conference statement of each party shall be sent
         directly to my chambers in the following manner: Email, in PDF, to
         CallahanPO@wied.uscourts.gov no later than 4:00 P.M. (CT) 11/21/2018. It
         will not be part of the record in this case. This mediation statement shall set
         forth the relevant positions of the parties concerning the relevant issues and
         damages. This mediation statement is not to be electronically filed and shall
         not exceed five pages in length. However, copies of the mediation
         conference statement are to be provided promptly to all counsel of record.

  5.      A separate ex parte letter indicating the minimum or maximum settlement
         requirement of each party including damages and attorneys’ fees, shall also be
         sent directly to m y cham bers in the following manner: Email, in PDF, to
         CallahanPO@wied.uscourts.gov no later than 4:00 P.M. (CT) 11/21/2018.
         The ex parte letter will not be part of the record of this case and should not
         be electronically filed.

  6.     To promote a full and open discussion, communications occurring during the
         mediation/settlement conference cannot be used by any party with regard to any
         aspect of this litigation.

  7.     Questions regarding the mediation may be directed to Dee McLeod Brock at
         414-297-1205.


  Dated at Milwaukee, Wisconsin this 3rd day of October, 2018.



                                         s/William E. Callahan, Jr.
                                         WILLIAM E. CALLAHAN, JR.
                                         United States Magistrate Judge




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